UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                         11/17/23


WAYNE BALIGA,
                                                         18 Civ. 11642 (VM)
                           Plaintiff,
                                                         ORDER
                   - against -

LINK MOTION INC., et al.,

                           Defendants.


VICTOR MARRERO, United States District Judge.

     Plaintiff      moves    the    Court     for    a   mediation    referral

order. (See Dkt. No. 498.) Defendant Vincent Wenyong Shi

objects.    (See    Dkt.    No.    501.)     Upon    consideration     of   the

parties’ submissions, the Court hereby DENIES the plaintiff’s

request    for   referral     of    the     case    to   mediation,   without

prejudice. The plaintiff may renew the request at a later

point in the litigation, after discharge of the Receiver.

SO ORDERED.

Dated:      17 November 2023
            New York, New York




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